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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LUIS AGUILAR,                                        )
                                                     )
                              Plaintiff,             )      Case No. 20-cv-06668
                                                     )
                      v.                             )      Judge Sara L. Ellis
                                                     )
ROLAND CORPORATION U.S.,                             )      Magistrate Judge Sheila M. Finnegan
                                                     )
                              Defendant.             )

                         DEFENDANT’S MOTION TO DISMISS
                        COUNT III OF PLAINTIFF’S COMPLAINT

       Defendant, ROLAND CORPORATION U.S., through its attorneys, Kristine S. Phillips

and André A. Sutton of O’HAGAN MEYER LLC, for its Motion to Dismiss Count III of

Plaintiff’s Complaint, pursuant to Fed. R. Civ. Pro. 12(b)(6), states as follows:

       1.      On November 9, 2020, Plaintiff Luis Aguilar (“Plaintiff”) filed a Complaint

against Defendant Roland Corporation U.S. (“Defendant”). (Doc. #1). Therein, Plaintiff asserted

three counts including: Count I for race discrimination under 42 U.S.C. §1981 (“Section 1981”);

Count II for retaliation under Section 1981; and Count III for intentional infliction of emotional

distress (“IIED”) under state law.

       2.      Defendant is filing its answers and affirmative defenses to Counts I and II of

Plaintiff’s Complaint contemporaneously with the filing of this Motion to Dismiss.

       3.      Count III fails to set forth a cause of action for IIED because Plaintiff has not

asserted any conduct severe or outrageous enough to sustain a claim for IIED. As such, Plaintiff

has not, as a matter of law, sufficiently stated a claim of IIED and accordingly, Count III should

be dismissed pursuant to Rule 12(b)(6).

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       WHEREFORE, for these reasons and for those set forth in Defendant’s Memorandum of

Law in support of its Motion to Dismiss, ROLAND CORPORATION U.S. moves this Court to

dismiss Count III of Plaintiff LUIS AGUILAR’s Complaint, pursuant to Fed. R. Civ. Pro.

12(b)(6), and for further relief this Court deems just.



Date: January 11, 2021
                                                     Respectfully submitted:

                                                     ROLAND CORPORATION U.S.

                                                  By:/s/ Kristine S. Phillips
                                                     One of its attorneys
                                                     O’HAGAN MEYER LLC

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                              CERTIFICATE OF SERVICE

This is to certify that on this 11th day of January 2021, I electronically filed DEFENDANT,
ROLAND CORPORATION U.S.’ MOTON TO DISMISS COUNT III OF PLAINTIFF’S
COMPLAINT with the Clerk of Court using the CM/ECF system which will send notification of
such filing to the following:

                            ATTORNEY FOR PLAINTIFF:
                            Edward R. Moor
                            Moor Law Office, P.C.
                            One N. LaSalle Street, Suite 600
                            Chicago, Illinois 60602
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                                          /s/Kristine S. Phillips
                                          Kristine S. Phillips
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                                         ONE OF THE ATTORNEYS FOR DEFENDANT,
                                         ROLAND CORPORATION U.S.




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